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EXHIBIT 2
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     by the 9th section of the act of 1836, and the 14th section of
     the act of 1837.
       .The acts of*1836 and 1837 appropriate the Patent Fund for
     certain objects.. It is money in the Treasury appropriated.
     There is no express repeal of the Patent Fund, in the -act of 3d
     March, 1.853, and nothing repugnant to, nor inconsistent with,
     the specific appropriation and pledge of the Patent Fund as con-
     tained in the acts of 1836 and 1837,-nothing which hints at
     the. repeal of that pledge. We have already seen that the
     mention of "money in the Treasury not otherwise appropri-
     ated" does not divert the Patent Fund from the objects for
     which it is created and appropriated. To make the one or the
     other, or both, of the statutes of 1852 and 1853 work by
     implication a repeal of the 9th section of the act of 1836, and
     14th section of the act of 1837, would be contrary to the
     established, rules of statutory construction, to the plain
     import of the respective provisions, and to the legal meaning,
     as well as the undoubted intention, of the several acts of Con-
      gress.
        My opinion, therefore, is, that the salaries of the clerks
      should, notwithstanding the act of 1853, nay, by the very force
      of the language of the act itself, continue to be paid, as re-
      quired by the acts of 1836 and' 1837, out of the special fund
      of the office.
              I am, very respectfully,
                                                    'C. CUSHING.
         lion. ROBERT MCCLELLAND,
                     Secretary of the Interior.



                  OFFICE AND DUTIES OF ATTORNEY GENERAL.

      Exposition of the constitution of the office of Attorney General as a branch of
                    the executive administration of the United States.

                                      ATTORNEY GENERAL'S OFFICE,
                                                  31areh 8, 1854.
        SIR: At the expiration of a year's experience in the dis-
      charge of my present official duties, and observation of their
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     relation to other branches of federal administration, it seems to
     me not unseasonable now to lay before you some suggestions of
     possible improvement in.the mannr of conducting the legal
     business of the Government.
         The Constitution of the United States provides,. that "the
     executive power shall be vested in the President of the United
     States," who 'shall be Commander-in-chief 'of the Army. and
     Navy; who shall, by and With the advice and consent of the
     Senate, make treaties; who shall nominate and, by and with
     the advice and consent of the Senate, appoint, all officers of
     the United States, military, judicial, diplomatic, or administra-
     tive, whose appointments are. not otherwise provided for, and
     which shall be established by law ; who shall have a qualified
     participation in the enactment of laws, and take care that they
     be faithfully executed; and who shall, from time to time, give
    to Congress information of the state of the Union.
     . The President is thus made the responsible depositary and
    chief functionary, for the time being, of the ministerial powers
    and administrative duties. of the United States regarded as a
    political sovereignty.
        But the Constitution does not specify the subordinate,
    ministerial, or administrative functionaries, by whose agency or
    counsels the'details of the public business are to be transaicted.
    It recognises the existence of such official agents and advisers,
    in .saying, that the President "may' require the opinion, in
    writing, of the principal officer in each of the executive depart-
    ments, upon any subject relating to the duties of' their respect-
    ive offices ;" and these officers are again recognised by the
    Constitution in the clause which vests the appointment of certain
    inferior officers "in the heads of departments ;" and it leaves
    the number' and the organization of those departments to be
    determined by Congress.
        In the execution of this duty, the constitutional Congress
    proceeded, at an early day of its first session, (July 27, 1789,) to
    establish- the Department of Foreign Affairs, with "a principal
    officer therein," to be called the Secretary for the. Department
    of Foreign Affairs, and to perform and execute such duties
    respecting foreign affairs as the President should assign to him,
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     apd to conduct the business of the department in such manner
     as the President should, from time to time, order or instruct.
        Bat this act, which was the commencement of the organization
     of executive departments under the Constitution, and a com-
     mencement in the direction of a'systematic and proper distribu-
     tion of duties,, gave place, after the lapse of, a few months
     (September 15, 1789,) to an act, which changed the name of-
     the Department of Foreign Affairs' to that of Department of
     State, though it in no respect changed the duties of the Secre-
     tjry, except to provide that he should receive, keep, and cause
     to.be promulgated, the laws enacted by Congress; and that he
     should keep the seal of the United States, and affix the same to
     the commissions of all civil officers of the United States lawfully
     appointed by the President, whether with or without the advice
     and consent of the Senate.
         In changing the name of this department from Foreign Affairs
     to that of State, Congress did not change the main duties of the
     department, consisting then, as now, of the charge of the foreign
     relations of the Government. There is no very obvious con-
     nexion between the new nanie given to the department, and the
     only important fact Which accompaniied the change, namely, the
     commitment of the seal of the United States to the secretary,
     and the duty of affixing it to'' the commissions of civil officers.
     If on this account, as it would seem, the designation of the Sec-
     retary was changed, certainly the n1ew title had not, according
     to the received previous use of the term in our mother tongue
     any special relation to the new duties, it not being coupled with
     the custody of the great seal in England, and being applied
     there.to the office' of several of the'principal secretaries. Pro-
     bably it was deemed convenient, i'n that early period, when the
     public business was littlb' in amovnt relatively to later times,
     that the head of the most important of the departma:nts' should
      bear aname indicative of'higher, general, and political duty,
      and so indefinite, that much miscellaneous business might bo
      consighed to his charge, 'either by act of Congress, or bydirec-
      tion of the President."
         Next, after establishing 'the Department of Foreign Affairs,
      Congress, at the same session, (August 7, 1789,) established .tho
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   Department of War, with a principal officer therein, to be called
   the Secretary for the Department of War, and required to per-
   form such duties as might from time to time be lawfully enjoined
   on or intrusted to him by the President, relative to military, or
   naval affairs ; and to conduct the business of the department in
   such manner as the President might from time to time-order or
   instruct.
      This department was also formed on proper premises of clas-
   sification, even though including, as it did, the jurisdiction of
   Indian affairs; for the arrangement of frontier posts, and oth er
   considerations, devolved of necessity, at that period, the charge
   of the Indians on the Secretary of War.
      Next came, at the same session, (September 2, 1789,).a De-
   partment of Treasury, (not the Treasury,) the head of it, how-
   ever, being called the Secretary of the Treasury, and his general
   duty being defined to be to digest and prepare plans for the
   improvement and management of the revenue, and for the
   support of public credit; to prepare and report estimates of the
   public revenue and the public expenditures;. to superintend the
   collection of the revenue; to grant warants for money to be
   issued from the treasury in pursuance of appropriations by law;
   and to have charge of the sale of the lands belonging to the
   United States.
      In the organization of the business of this department by this
   act, facts peculiar, as compared with the other two departments,
   are prominent.
       One is, that the Secretary of the Treasury, instead of being
   made subject only to the direction of the President by name, is
   required "generally to perform all such services, relative to the
   finances, as he shall be directed to perform ;" which phraseology
   has relation to the provision of the act that he shall "make
   report and give information to either branch of the legislature,
   in person or writing; as hie may be required, respecting all
   matters referred to him by the Senate or House of Representa-
   tives, or (and) which shall appertain to his office."
       Another peculiarity of the act is, that whereas, in the others,
   provision is made for a chief and other clerks only, here, on thp
    other hand, is the commencement of sub-departments, or bureaus,
    commonly so called, in the provision for the appointment of 96
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     comptroller, an auditor, a treasurer, and a register, among whom
     a portion of the business of the department is distributed per-
     manently and upon system.
        At the same session of Congress, in organizing the judicial
     business of the United States, (September 24, 1789) provision
     was made for an Attorney General, to prosecute and conduct
     all suits in the Supreme Court in which the United States shall
     be concerned, and to give his advice and opinion upon questions
     of law, when required by the President of the United States, or
     when requested by the heads of any of the departments, touching
     any matters which may concern their departments.
        By another act of the same session of Congress, (September
     22, 1789,) the office of Postmaster General was appointed, with
     an assistant, or clerk and deputies, subject, in performing the
     duties of his office, and in forming contracts for the transporta-
     tiou of the mail, to the direction' of the President, but not in
     other respects then placed in the same high official relation to
     the Government as at the present time.
      . Such was the original basis of the executive organization of
     the Government. The Secretary of State for political and
     foreign affairs, the Secretary of War for military and naval
     matters, the Secretary of the Treasury for those of finance,
     and the Attorney General for legal and judicial ones, were the
     immediate superior ministerial officers of the President, and his
     constitutional counsellors during the whole period of the ad-
     ministration of Washington.
        We find abundant evidence, both in the public archives and
     in the printed correspondence and other writings of Washington
     and Jefferson, that it was the practice in their time for the Presi-
     dent not only to call for written opinions of the Attorney General,
     as at present, and to advise orally or by informal correspondence
     with him and the three Secretaries, but also to require of all these
     officers written opinions upon critical subjects of executive deli-
     beration, as expressly provided by the Constitution.
        Conspicuous illustration a-d evidence of these facts may be
     deduced from the extracts given in the text and the notes to
     Washington's writings. (See e. g., vol. x, p. 321, note; vol. x,
     p. 546, note.) In one of these cases it will be perceived that the
     Cabinet, so called, consisting of the Secretary of State, Secre.
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     tary of the Treasury, Secretary of War, and Attorney General,
     though not in any sense an organized body with legal attributes
    as such, yet proceeded to act in concert, adopting joint rules,
    signed by them, as to the political and military questions pend-
    ing between the United States and France.
        By an act of the next- Congress, various modifications were
    made in minor details of the duty of the Secretaries of Trea-
    sury and War and of the Attorney General. (May 8, 1792.)
        Meanwhile anu organization had been effected of all those
    branches of the public service which are localized in the States,
    including, among other things, officers of the revenue, deputy
    postmasters, courts, and ministeril officers of the law, and the
    survey and sale of the public lands; but no material modifica-
    tion occurred in the great outlines of superior administration,
    until during the administration of John Adams, when the mag-
    nitude of our commerce, and the importance of our maritime
    relations, induced the Government to pay more attention to the
    military marine, and to establish the Department of the Navy,
    the chief officer of which to be called the Secretary of the
    Navy, whose duty it should be to execute such orders as he
    might receive from the President relative to the procurement of
    naval stores and materials, and the construction, armament,
    equipment, and employment of vessels of war, as well as to all
    other matters connected with the naval, establishment of the
    United States. (April 30, 1798.)
       Subsequently to this, and in the long period of the adminis-
    trations of Jefferson, Madison, Monroe, and John Quincy Adams,
    no change in the general character of the executive departments
    took place, although all of them underwent more or less modi-
    fication in details, by the intertransfer of old, or the creation
    of new branches of business, and especially the establishment
    of new bureaus, or the enlargement of old ones, materially
    affecting the internal organization of the Departments of State,
    War, Treasury, -Navy, and Post-Office.
       But, at the opening of Jackson's administration, the Postmas-
    ter General, whose duties and responsibilities had grown with
    the growth of the country to be of vast importance, was called,
    as the public interests required he should be, to the same duties
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     of a cabinet counsellor of the President, which had been dis-
     charged theretofore by the four Secretaries and the Attorney
     General.
        This fact constitutes the first important alteration in the
     arrangements of superior administrative duty and accountability
     which had occurred since 1798, when the Department of the
     Navy was established.
        Perhaps an equally important fact, occurring at the same
     period, was the decision, by Jackson, in the circumstances
     attending the removal of Mr. Duane, as Secretary of the Trea-
     sury, and the appointment of Mr. Taney, of the question of the
     responsibility of the heads of departments to the President.
        Finally, by an act passed at the close of Mr. Polk's adminis-
    tration, (March 3d, 1849,) in order to relieve the Departments
     of State, War, Treasury, and Navy, of branches of public
    business, created from time to time, which,-attached to those
     offices originally from considerations of fitness which had ceased
    to exist, or from the want of any more convenient destination
    to be given to them, now required to be placed in other hands,-
    a new executive department was organized, to be called the De-
    partment of the Interior, to the secretary of which was com-
    mitted the supervision of the Patent Office, the General Land
    Office, the accounts of officers of the courts of the United States,
    Indian Affairs, the Pension Office, the Census, Mines, and the
    Public Buildings.
     - This act, it should -beobserved, does not provide in terms that
    the Secretary of the Interior shall be subject to the general
    direction of the President, as in the case of the Secretaries of
    State, War, Navy, and Postmaster General; nor do the acts
    appointing the Secretary of the Treasury and the Attorney
    General. On the other hand, none of the acts, except that
    establishing the Treasury Department, subject the chief exe-
    cutive officers to the duty of responding to direct calls for infor-
    mation on the part of the two Houses of Congress. This,
    however, has come, by analogy or by usage, to be considered
    a part of their official business. And the established sense of
    the subordination of all of them to the President, has, in like
    manner, come to exist, partly by construction of the constitu-
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   tional duty of the President to take care that the laws be faith-
   fully executed, and his consequent necessary relation to the
   heads of departments, and partly by deduction from the analogies
   of statutes.
       One other fact, which has been alluded to already, requires
   more particular attention.
       It is the constitutional duty of the President, and of course
   his right, to recommend legislative measures to Congress, which
    is in effect the suggestive initiation of laws.- By express pro-
   vision of law, it is made the duty of the Secretary of the
   Treasury to communicate information to either House of Con-
   gress when desired; and it is practically and by legal implica-
   tion the same with the other secretaries, and with the Postmaster
    and the Attorney General. But the provision of law, which
    enacts that the Secretary of the Treasury shall make report
   and give information to either branch of Congress in person,
   when required, and which, if carried into operation, would in
    fact confer on the Secretary the advantage, though not a member
    of Congress, yet of explanatory discussion both in the Senate
    and the House of Representatives, does not appear to have been
    at any time practised upon by Congress, either in regard to the
    Secretary of the Treasury or any other head of department by
    analogy. But heads of departments have in some cases been
    called on to make explanations in person to committees of
    Congress.
       It has appeared necessary to take this retrospective survey
    of the formation of the several executive departments, and of
    their general relation one to another, as preliminary to an
    explanation of the manner, in which existing laws provide for
    the superintendence and management of the judicial and legal
    business of the Government.
       We have seen that the act establishing the office of Attorney
     General expressly imposed on him two classes of duty: first,
    to prosecute all suits in the Supreme Court in which the United
     States are concerned, and secondly, to give his advice and
     opinion in questions of law to the President and to the heads
     of departments.
        In the discharge of the second class of the above-mentioned
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      duties, the action of the Attorney General is quasi judicial.
      His opinions officially define the law, in a multitude of cases,
     where his decision is in practice final and conclusive,-not only
      as respects the action of public officers in administrative mat,
     ters, who are thus relieved from the responsibility which would
     otherwise attach to their acts,-but also in questions of private
     right, inasmuch as parties, having concerns with the Govern-
     ment, possess in general no means of bringing a controverted
     matter before the courts of law, and can obtain a purely legal
     decision of the controversy, as distinguished from an adminis-
     trative one, only by reference to the Attorney General.
        Accordingly, the opihions of successive Attorneys General,
     possessed of greater or less amount of legal acumen, acquire-
     ment, and experience, have come to constitute a body of legal
     precedents and exposition, having authority the same in kind,
     if not the same in degree, with decisions of the courts of
      justice.
        It frequently happens that questions of great importance,
     submitted to him for determination, are elaborately argued by
     counsel; and whether it be so or not, he feels, in the perform-
     ance of this part of his duty, that he is not a counsel giving
     advice to the Govornment as his client, but a public officer, act-
     ing judicially, under all the solemn responsibilities of conscience
     and of legal obligation.
        Although the act, requiring this duty of the Attorney
     General, does not expressly declare what effect shall be given
     to his opinion, yet the general practice of the Government has
     been to follow it ;-partly for the reason already suggested, that
     an officer going against it would be subject to the imputation
     of disregarding the law as officially pronounced, and partly
     from the great advantage, and almost necessity, of acting
     according to uniform rules of law in the management of the
     public business:. a result only attainable under the guidance
     of a single department of assumed special qualifications and
     official authority.
        But the Attorney General is under, no obligation to render
     an award, or determine a question of fact in cases referred to
     him; nor does an appeal to him lie from another department
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   by any party assuming to be aggrieved by its action, and seek-
   ing.to have it reviewed; nor is he to give advice to heads of
   departments on matters which do not concern their depart-
   ments, and in which the United States have no interest; nor is
   he authorized to give official opinions in any case not falling
   within the scope of his duties, so as to connect the Government
   with individual controversies, in which it has no concern, and
   with which it ought not to interfere; nor is lie in general to
   give official opinions to subordinate officers of the Government;
   nor ought he to advise individuals in regard to any question of
   legal right depending between them and the Goyernment.
      Some uncertainty has existed upon the point whether it is
   the duty or the right of the Attorney General to give mere
   legal opinions to the Senate or the House of Representatives, it
   having been denied in one case by Mr. Wirt. But he, in com-
   mon with other persons holding the office, has recognised, by his
   action in sundry cases, the right of either House of Congress
   to call on him for information in any matters within the scope
   of his office, and his duty to communicate the same.
      The other duty prescribed by the act of 1789, that of con-
   ducting the suits of the United States in the Supreme Court, is,
   of course, the function of an advocate, subject to the condi-
   tions only of the conscientious and honorable discharge of such
   a function, and with official relation both to the Government
   and the Supreme Court.
      The act speaks of the Supreme Court alone, and it is the
   regular statute duty of the Attorney General only to conduct in
   person the causes of the United States there ; but the Presi-
   dent may undoubtedly, in the performance of his constitutional
   duty, instruct the Attorney General to give his direct personal
   attention to legal concerns of the United States elsewhere,
   when the interests of the Government seem to the President to
   require this. An example of this, having the force of contem-
   poraneous exposition,. occurs in the case of the instructions of
   Washington to the Attorney General, in 1792,.to attend the
   circuit court at York, on occasion of certain indictments pend-
   ing there, "to see that that business be conducted in a manner
   to which no exception can be taken with propriety, and for the
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      purpose of giving to the measures of Government a more solemn
      and serious aspect." This precedent has been followed in other
      and later cases, which seemed to call for the special direction
      of the Government.
         At successive periods in the history of the Government, the
      Attorney General has been invested with various other powers
      and duties, some of them special and temporary, and some per-
      manent, some of them purely legal, and some administrative
      rather than legal, but all of them having apparent relation to
      the general nature of his office, and which it may be well to
      briefly indicate.
         By an act passed at the second session of the first constitu-
      tional Congress, (April 10, 1790,) the foundations were laid for
      the system of granting letters patent of exclusive privileges for
      useful inventions or discoveries, this branch of public business
      being placed in the joint charge of the Secretaries of State and
      War and the Attorney General. Subsequently, (February 21,
      1793,) it was committed to the charge, first, of the Secretary
      of State,-then of a bureau created for it, under the immediate
      authority of a special commissioner, and subject to the super-
      vision of the Secretary of State,-until, as before stated, it was
      transferred to the new Department of the Interior.
         By the act establishing the Mint of the United States, it was
      required that the Chief Justice of the United States, the Secre-
      tary and Comptroller of the Treasury, the Secretary of State,
      and the Attorney General, should constitute a board to inspect
      the assay of gold and silver for coinage; (April 2, 1792 ;) but
      this duty has been transferred since to the district judge and
      district attorney of Eastern Pennsylvania.
         That was a duty administrative in its nature; as was that
      under the provision of law which appointed the Attorney Gene-
      ral, together with the Secretary of State and the Postmaster
      General, a board to prepare forms and schedules for the agricul-
      tural, commercial, and other statistical facts to be collected in
      the tiking of the seventh census of the United States, (March
      3,1849.)
         In a very early case of commissioners appointed under treaty
      to adjudicate claims provided for thereby, it was made the duty
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    of the President to appoint a person to act before such commis-
   sioners, in behalf of the United States, under the direction of
   the Attorney General, who was required to counsel such agent,
   and to attend in person whenever any questions of law or fact
   to be determined by the commissioners might render his pre-
   sence necessary; and he was authorized to employ such agents,
   in the different parts of the United States, as the business be-
   fore the commissioners should, in his opinion, require, and to be
   paid for their services at such rate as the President of the
   United States might order. (June 30, 1797.)
      If the same proceeding, or something analogous to it, had
   been adopted in regard to some later cases of the same charac-
   ter, so as to insure a contentious investigation of all claims pre-
   sented, it would have tended greatly to guard the responsibility
   and facilitate the safe action of the commissioners, and to pro-
   duce results more satisfactory to the interests of the Govern-
   ment.
      The Attorney General has himself been called on to act as
   commissioner to adjudicate claims under treaty, as in the case
   of the convention of indemnities between the United States and
   the Republic of Peru. (August 8, 1841.)
      But the most serious of his incidental duties has been that
   of supervising the litigation of land claims arising under ces-
   sions of territory made to the United States by France, Spain,
   or the Mexican Republic.
      By a series of acts for the adjudication of land claims under
   the treaties ceding Louisiana and Florida to the United States,
   it was made the duty of the Attorney General to decide on
   appeals from the district courts in which the claims were in the
   first instance litigated; to instruct the district attorney in regard
   to them, and to appear and prosecute those appeals in the Su-
   preme Court. (May 26, 1824.)
      By the various provisions of law for the adjudication of land
   claims in California, it is in like manner made his duty to re-
   ceive and examine the transcripts of cases decided by the com-
   missioners, before whom they are in the first instance to be,
   heard, and determine which of the cases shall be appealed to
   the district courts and to the Supreme Court of the United
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      States, (March 3, 1851, and August 31, 1852.) This branch
      of business, though in some sort temporary in its character, yet
      involves responsible present relations to, and ultimate manage-
      ment of, a large number of suits of the highest importance and
      interest, and therefore constitutes one of the most onerous of
      the present occupations of the Attorney General.
         Another class of duties of a permanent nature, and of con-
      stant recurrence, is the examination, which he is required to
      niake, of all titles of lands or sites purchased by the United
      States for the purpose of erecting thereon armories, arsenals,
      forts, fortifications, navy yards, custom houses, lighthouses, or
      other public buildings of any kind whatever ; and without his
      certificate of the validity of the title, no public money can be
      expended upon any such land or site. (September 11, 1841.)
         In all cases of suspended entries of public lands, the appro-
      bation of the Secretary of the Interior and of the Attorney
      General is necessary to the valid adjudication of the same by
      the commissioner. (August 3, 1846, and March 3, 1853.)
         Finally, in regard to the great variety of duties appointed
      for the Solicitor of the Treasury, including the collection of
      debts due to the Government, the disposition of property taken
      by execution in its behalf, the management of suits in the local
      courts of the United States, and the instruction of district
      attorneys and marshals in the premises, (concerning which busi-
      ness more will be said hereafter,) it is made the duty of the
      Attorney General, at the request of the Solicitor, "to advise
      with and direct" him in such matters. (May 29, 1830.)
         It remains only to say,. in speaking of the legislation of Con-
      gress in regard to the office of Attorney General, that his de-
      partment, in common with the others, has an official seal, and
      all copies of records authenticated by certificate under this are
      declared to be evidence equally with the original record or
      paper; that he, in common with other officers of the same class,
      appoints the clerks or other persons allowed by law for the
      service of his office, in virtue of the clause of the Constitution
      authorizing certain appointments to be vested in the heads of
      departments: and he exercises all such general powers as are
      by law vested in them, such, for instance, as the employment
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  of counsel or other legal assistance in behalf of the United
  States.
      Such are the general duties, ordinary and extraordinary, of
  the office of Attorney General, as expressly set forth by statute,
  and in addition to implied contingent duties, which, as already
  intimated, he may be called upon by the President or the Houses
  of Congress to perform.
     On this point, which has been touched already, it may not be
  amiss to state more fully the constitutional and legal nature of
  the relation of the President to the heads of departments
  in matters of detail not explicitly provided for by acts of
  Congress.
     We have cursorily seen that the act establishing the Depart-
  ment of State provides that the Secretary shall "perform and
  execute such duties as shall, from time to time, be enjoined on,
   or intrusted to him by the President, agreeably to the Consti-
  tution, relative to correspondence, commissions, or instructions
  to or with public ministers or consuls -from the United States,
  or to negotiations with public ministers from foreign states or
  princes, or to memorials or other applications from foreign pub-
  lie ministers or other foreigners, or to such other matters respect-'
  ing foreign affairs as the President of the United States shall
  assign to said department ;" but the act does not say that the
   President may assign to him, or that he shall perform any duties
  not relating to the foreign affairs of the government. It pro-
   ceeds further to provide that he shall "conduct the business of
   the said department in such manner as the President of the
   United States shall from time to time order or instruct ;" which
   provision decides nothing as to what shall be the business of 'the
   department.
      The act establishing the Department of War in like manner'
   provides, that the Secretary shall "perform and execute such
   duties as shall from time to time be enjoined upon him by the
   President of the United States, agreeably to the Constitution,
   relative to military commissions, or to the land or naval forces,
   ships, or warlike stores of the United States, or to such other
   matters respecting military and naval affairs, as' the President
   of the United States shall assign to said department, or relative
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       to the granting of lands to persons entitled thereto for military
       services rendered to the United States, or relative to Indian
       affairs; and furthermore, that the said principal officer shall
       conduct the business of said department in such manner as the
       President of the United States shall, from time to time, order
       or instruct." Here also the statute power of the President to
       assign business to the Department, and to direct in it, is limited
       to a class of enumerated matters and the manner of conducting
       the business -assigned.
          In the act of 1789, "for the temporary establishment of
       the Posf Office," it is provided " that the Postmaster General
       shall be subject to the direction of the President of the United
       States, in performing the duties of his office ;" but that act at
       length expired by its own limitation, and the subsequent acts
       giving a more stable form to the Post Office, do not appear to
       contain any provision as to the directory power of the President.
       (See acts of February 20th, 1792, and March 3d, 1825.)
          The act establishing the Department of Treasury, requires
       the Secretary "to perform all such services relative to. the
       finance as he shall be directed to perform," but makes no refer-
       ence, eo nomine, to the President.
           The act establishing the office of Attorney General is wholly
       silent on this point.
          The act establishing the Department of the Navy is precise
       in terms, to the effect that the Secretary shall "execute such
        orders as he shall receive from the President of the United
        States, relative to the procurementof naval stores and materials,
        and the construction, armament, equipment, and employment
        of vessels of war, as well as all other matters connected with
        the naval establishment of the United States." Nothing is
        said here of any general directory power on the part of the
        President.
           Finally, the act establishing the Department of the Interior
        is silent on this point.
           Now, uon this full exhibition of the statute provisions on
        the matter, questions arise both as to the substance of the busi-
        ness of the Departments, and the manner of conducting it, in
        regard to the directory power of the President.
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      It is impossible for Congress to foresee, and circumstantially
   provide for, all the possible future contingencies of executive
   business, either in respect of the business itself or the manner
   of conducting it. A necessary discretion must exist in the
   nature of things somewhere as to all such matters. And
   that ultimate discretion, when the law does not speak, must
   reside, as to all executive matters, with the President, who has
   the power to appoint and remove, and whose duty it is to take
   care that the laws be faithfully executed. Where the laws de-
   fine what is to be done by a given head of department, and how
   he is to do it, there the President's discretion stops; but if the
   law require an executive act to be performed, without saying
   how or by whom, it must be for him to supply the direction, in
   virtue of his powers under the Constitution, he remaining sub-
    ject always to that, to the analogies of statute, and to the
   general rules of law and of right. And this view of the ques-
   tion has been followed, uniformly, in the practical administra-
   tion of the Government.
      We shall appreciate the value of this conclusion in the sequel,
   when we come to perceive that great branches of public busi-
   ness are to be found, which are not assigned by statute to any
   particular department, or as to which there is no provision of
    statute deciding all questions of the manner of transacting such
   business.
       The Supreme Court have recognised the existence of such a
    discretion, as being reposed for numerous contingencies, not
    only in the President in regard to the business of the depart-
    ments, but in the heads of the departments themselves, by im-
    plication of law or as the executive agents of the President.
    The court say, that to attempt to regulate by law the minute
    movements of every part of the complicated machinery of ad-
    ministration, would evince complete disregard of the limits of
    the possible and the impossible. While the great lines of its
    movements may be marked out, and limitations be thus imposed
    on the exercise of its powers, there are numberlesd things to be
    done which cannot be anticipated or defined, but are, neverthe-
    less, indispensable to the* action of the Government. These
    things must of necessity be left to a wise and judicious discre-
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       tion. (United States v. McDaniel, vii Peters, 1; United States
       v. Bailey, ix Peters, 238.)
          Question has existed as to the relation of the President and
       the respective heads of departments to the chiefs of bureaus,
       and especially the accounting officers of the Treasury.
          it is not the duty of the President, and in general it is not
       convenient for him, to entertain appeals from the departments
       on the various matters of business, and especially the private
       claims, on which they have occasion from time to time to pass.
       Though he is to take care that the laws be faithfully executed,
       still it is physically impossible that he should do everything in
       person. Therefore, the Constitution and the laws give to him
       agents, through whose instrumentality the executive business
      may be transacted. Among these are the Heads of Depart-
       ments, and other subordinate officers of the Government.
        .Now, from the fact that the executive agents, primary and
       secondary, are assigned by law to particular duties, it has been
       somewhat hastily inferred, that while it is indubitably true that
      he may direct the heads of departments, yet he has no autho-
      rity over the chiefs of bureaus, and especially those in the de-
      partment of Treasury. It needed only to carry this course of
      thought one step further, to say that the heads of departments
      themselves had no authority over those officers. This step was
      taken, and the doctrine it involves was, for a time, asserted. If
      maintained, it would have been the singular condition of a great
      government, in which the executive power was vested by Con-
      stitution in the President, and he had authority over the pri-
      mary executive officers, but neither he nor they had any authority
      over the secondary executive officers, and, of course, it would
      be in the power of the latter to arrest, at any time, all the
      action of the Government.
          Such a doctrine was against common sense, which assumes
      that the superior shall overrule the subordinate, not the latter
      the former. It was contrary to the settled constitutional theory.
      That theory, as we shall hereafter see, while it supposes, in all
      matters not purely ministerial, that executive discretion exists,
      and that judgment is continually to be exercised, yet requires
      unity of executive action, and, of course, unity of executive
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     decision; which, by the inexorable necessity of the nature of
     things, cannot be obtained by means of a plurality of persons
     wholly independent of one another, without corporate conjunc-
     tion, and released from subjection to one determining will; and
     the doctrine is contradicted by a series of expositions of the
     rule of administrative law by successive Attorneys General.
        Thus, in a controverted matter of military allowance, re-
     quiring an act of decisive judgment, Mr. Berrien adjudged that
     the Third Auditor and the Second Comptroller are bound to
     take the decision of the Secretary of War, who may give it
    ,either by previous direction or by subsequent review. (Opinion,
     December 4, 1829.)
        Mr. Taney gave similar advice on a question arising in the
     same department; (Opinion, September 10, 1831.)
        Mr. Butler, Mr. Johnson, and Mr. Crittenden have affirmed
     the same doctrine. And on a question raised by the refusal of
     the Commissioner of Customs to take the direction of the Sec-
     retary of the Treasury, Mr. Crittenden elaborately reviewed the
     whole subject, and determined, by unanswerable argument, the
     right of the Secretary of the Treasury in the given case, and by
     analogy that of other heads of departments in correspondent
     cases. (Opinion, November 13, 1852.)
        Meanwhile, if an opinion delivered many years ago by Mr;
     Wirt is now to be received as law, then, although an auditor, as
     even he admits, is subject to the direction of the Secretary of
     War, or the Secretary of the Interior, or some other Secretary,
     as the case may be, yet such auditor is wholly above the
     authority of the President, who, nevertheless, directs the Secre-
     tary. Had the idea presented itself as a mere question of the
     order of business, to the effect that the President should act
     upon the subordinate officers through the heads of departments,
     it might have answered as a matter of convenience, but not one
     of legal necessity. But the idea utterly excludes the authority
     of the President, and so, while recognising the authority of the
     head of department, in effect makes the latter also superior to
     the 'President: which is in conflict with universally admitted
     principles. Such an assumed anomaly of relation, therefore,
     as this idea supposes, resting upon mere opinion or exposition,
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      must, of course, yield to better reflection, whenever it comes to
      be a practical question demanding the reconsideration of any
      Attorney General.
          Upon the whole, then, heads of departments have a threefold
      relation, namely: 1. To the President, whose political or confi-
      dential ministers they are, to execute his will, or rather to act
      in his name and by his constitutional authority, in cases in
      which the President possesses a constitutional or legal discre-
      tion. 2. To the law ; for where the law has directed them to
      perform certain acts, and where the rights of individuals are
      dependent on those acts, then, in such cases, a head of depart-
      ment is an officer of the law, and amenable to the laws for his
      conduct. (Marbury v. Madison, i Cranch, 49-61.) And 3.
      To Congress, in the conditions contemplated by the Consti-
      tution.
          This latter relation, that of the departments to Congress, is
      one of the great elements of responsibility and legality in their
      action. They are created by law; most of their duties are pre-
      scribed by law; Congress may at all times call on them for
      information or explanation in matters of official duty; and it
      may, if it see fit, interpose by legislation concerning them,
      when required by the interests of the Government.
          Some further explanation may be necessary, in regard to the
      relation of the departments to law as represented by the courts
      of justice. I do not speak now of the responsibilities of a
      head of department in the relation of crime, whether in ques-
      tions of indictment or of impeachment. That is a matter of
      course. I speak of the power of the courts to act on the ad-
      ministrative business of the Government.
         -The Constitution in terms vests the legislative power in Con-
      gress, the executive power in the President, and the judicial
      power in the Supreme Court and in such inferior courts as the
       Congress may, from time to time, ordain and establish. It is
      perfectly clear that in general, and except at certain points
      where they necessarily touch one another, such as the partici-
      pation of the Senate in treaties and appointments, and of the
      President in acts of legislation, it was intended that the three
       great departments shall move apart, each in its orbit. (Martin
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    v. Hunter, i Wheaton, 304, 329.)      This would not be the case
    if the courts of law had the power to review and overrule the
    acts of the Executive. Therefore, on the first great occasion
    in which the relation of the courts of the United States to the
    Executive came up for solemn adjudication, that of Marbury v.
    Madison, which was an attempt of a person to compel the Sec-
    retary of State to deliver to him a commission, the Supreme
    Court, while asserting the responsibility of a head of depart-
    ment to the law, in the general terms hereinbefore cited, and
    while discussing at length the legality of the act of the Secre-
    tary of State in refusing to deliver the commission, and thus
    voluntarily deciding arguendo questions of which they had con-
    fessedly no jurisdiction, were compelled, in conclusion, to say
    this, and to admit that the Constitution had not constituted
    them to be an appellate tribunal to review and revise the
    administrative acts of the President of the United States. The
    Supreme Court thereupon refused a mandamus, the process
    prayed f6r in this case, as they did subsequently in the case of
    McIntire v. Wood, which was an application for that process to
    compel the register of a land office to issue a certificate of pur-
    chase, (vii Craneb, 504;) and in the case of Decatur v. Pauld-
    ing, where a party sought, by the same means, to compel the
    Secretary of the Navy to pay a pension to the petitioner, (xiv
    Peters, 497 ; see also McClung v. Silliman, vi Wheaton, 349.)
    But the Supreme Court meanwhile had claimed for the courts
    jurisdiction in the case of Stokes v. Kendall, where parties
    applied to the court to compel the Postmaster General to make
    what he conceived to be an illegal payment, and had granted
    the order on the ground that this was a ministerial act, while
    the other cases were of executive acts. (Kendall v. United
    States, xii Peters, 524.) It is not easy for a head of depart-
    ment to extract from these cases any very satisfactory rule of
    conduct, so as to know which, of many acts which he may be
    called on to perform, is ministerial, and not executive. And the
    court became, apparently, conscious of this, when the later case
    of Decatur v. Paulding came before them. There they refused
    to take an appeal from the Secretary of the Navy on a question
    of alleged legal right to a money payment, after having sus-
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     tained an appeal from the Postmaster General on the same pre-
     cise question, that of alleged legal right to a money payment,
     and proceeded to restate the limitations of the authority of the
     courts to act by mandamus on the Departments, confining the
     claim of jurisdiction more precisely to cases in which an act of
     Congress, lawfully passed, and within the proper powers of Con-
     gress, commands a specific act to be done, as, for instance, in
     the case of Stokes v. Kendall, a definite sum of money to be
     paid to a party named.
        As the law now stands expounded by the Supreme Court,
     therefore, it is conceded that a head of' an executive depart-
     ment of the Government, in the administration of the various
     and important concerns of his office, is continually required to
     exercise judgment and discretion. He must do this in constru-
     ing the acts of Congress, under which he is from time to time
     required to act. If he doubts, he has a right to call on the
     Attorney General for counsel. In general, his duties are not
     merely ministerial. The Supreme Court will not entertain an
     appeal from his decision, nor revise his judgment, in any case
     where the law authorized him to exercise discretion or judg-
     ment. Nor can it by mandamus act directly upon the officer,
     and guide his judgment or discretion in the matter committed
     to his care in the ordinary discharge of his official duties. Any
     such interference would involve a confusion of constitutional
     powers, and produce nothing but mischief in the business of the
     Government.
        The organization of the executive departments of adminis-
     tration implies order, correspondence, and combination of
     parts, classification of duties, in a word, system: otherwise
     there is waste and loss of power, or conflict of power, either of
     which is contrary to the public service, in the regard of so
     much work to be done by such and such persons, and at a given
     cost of either time or money. Besides which, -in a political
     relation, want of due arrangement of public functionaries and
     their functions, is want of due responsibility to society and to
     the law.
        Accordingly, it has been the general purpose of Congress, at
     all times, both as to the great subdivision of departments, and
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     the arrangement of the duties of each, to classify and to sys-
     tematize.
        This was an exigency of wise public policy, even when the
     business of the Government was little, and the number of its
     officers comparatively small; and it was, even then, accomplished
     approximately. But now,-when the territorial limits of the
     Union have spread from the Atlantic to the Pacific Ocean,-when
     the vast interests of the people of the Union are co-extensive
     With the habitable globe,-Jwhen the progress of wealth, intelli-
     gence, and mechanical invention has wonderfully enlarged and
     complicated the interests of society,-when our commerce extends
     to every land, and our ships are abroad on every sea,-when the
     American Union has become a primary power in Christendom,-
     and when the number of persons requisite to work this mighty
     machine of government has been proportionally augmented,-in
     such a state of things, that exigency of order, which was political
     Wisdom always, has now come to be material necessity.
         At such a period of the history of the Government, it seems
     fitting to consider where, if at all, in the conduct of its business,
     its mechanism can be saved from waste or collision, and its
     agents subjected to more -complete and exact responsibility.
     And on these premises it is that the present suggestions are
     made as to the conduct of the law business of the Government.
         According to the obvious theory of the constitution of the
     office of Attorney General, he has the superior charge of that
     business. And this theory is carried into practice in the main
     outlines of the duty of his offiep, as the following analysis will
     show.
         1. Upon the great questions of law arising in the administra-
     tion of public affairs, he gives opinion officially, both to the
     President and to the heads of departments.
         2. As one of the confidential political counsellors of the
     President, it may be supposed that he advises more particularly
     in iegard to the legal incidents of the appointments or other
     acts of the Government.
         3. He conducts directly all suits in the Supreme Court in
     which the United States are concerned.
         4. He advises or directs the Solicitor as to suits in which the
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     United States are concerned, pending in the inferior courts of
     the United States.
        5. He directs and prosecutes appeals in the great questions
     of land-title, which involve the proprietorship of all the soil in
     the successive increments of territory acquired by the United
     States.
        6. He performs occasional duty, from time to time, in the
     protection of the interests of the United States in matters of
     adjudication under treaties with foreign powers.
        7. He passes upon the title of all interest in lands acquired
     by the United States, by purchase for any of the local uses of
     government.
        8. He communicates to Congress such information as they
     require, appertaining to the duties and business of his depart-
     ment.
        In all these particulars he is, either directly or indirectly,
     and by statute, either express or implied, the administrative
     head, under the President, of the legal business of the Govern-
     ment. So far the administrative power, and the correspondent
     administrative responsibility exist, and they require modification
     in details only in order to be completely adapted to the theory
     of departmental organization.
        Among these modifications, it is respectfully submitted, should
     be provision, either by law or regulation, for a periodical report
     by the Attorney General to the President, and through him to
     Congress, of the business of his office, including the official
     opinions given by him, and any pertinent suggestions regarding
     the interests of the Government.
        Then come three important branches of public business, which
     the President is required, either by the Constitution or laws, to
     discharge in person or through lawful agents, as to which there
     is no specific provision by Congress, namely:
        1. Suits in which the United States are ultimately concerned,
     but in which they are not a party of record, or which are not
     brought in the courts of the United States.
        Thus it is that suits, on a foreign alleged grant, against a
     tenant in possession under patent from the United States, who
     will be called on to indemnify the tenant if he be evicted,. are
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       brought from-time to time in the States; but no provision exists
       for protecting the eventual interests of the United States in
       such cases by notice to the Government; there may be collu-
       sion in the suit in the court below, or mismanagement; and even
       if the case come up to the Supreme Court, it may become known
       to the Attorney General by accident only, if at all.
          Or, suit may be brought by some individual against an officer
       of the United States for some official act performed by him,
       and judgment rendered against him for heavy damages, per-
       haps without due defence, but for which Congress will be re-
       quired to make indemnity.
          Or a suit is brought by some person, or by a State, against
       an officer of the United States in the alleged possession of a
       citadel as its commander, or of a custom-house as collector of
       the revenue, for the purpose of thus obtaining a judgment of
       ejectment, which, in fact, evicts the United States.
          Or conflicts of jurisdiction may arise in the States, involving
       the whole question of the execution of the laws of the United
       States, or the domestic or foreign peace of the Union, without
       the United States being in any sense a party, but in which the
      political interests of the Government as such are above all pos-
      sible estimation.
          These are cases of daily occurrence, and subsisting examples
       of which, in various forms, do now occupy the attention of the
      Executive ; but the legal controversies thus arising have to be
       conducted by this or that head of department in whose branch
      of service they may happen respectively to arise, without any
      adequate and proper provision for their conduct.
          The President undoubtedly has power to assign all these
      cases, as they arise, to the charge of the Attorney General;
      and it would be fitting that he should do so, provided the corre-
      spondent changes in the organization of this office be author-
      ized by Congress.
          2. Pardons. Applications are, of course, continually made
      to the President for the exercise of his constitutional power to
      grant reprieves and pardons for offences against the United
      States. Being constitutional, it is a power which :Congress
      cannot take away or impair. It might, however, as it has done
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      in other cases where needed, provide legal means and legal
      agents to aid the President in its exercise; in the absence of
     which he must of necessity exercise a lawful discretion in those
     respects. The conscientious determination of questions of this
     class requires, generally, the investigation of proceedings in
     court, and that of questions of law as well as of evidence, and
     the conduct of correspondence, in all which the President re-
     quires the instrumentality of a public officer. Formerly, this
     duty was performed by the Secretary of State; of late, it has
     been assigned to the Attorney General, in whose department,
     by reason of the nature of the business, it appropriately falls.'
        8. Commissions of public officers of a judicial character or
     relation.
        No provision of law exists prescribing the department which
     shall receive the applications and recommendation's, conduct the
     correspondence, and analyze or abstract the documents, in this
     branch of the public service. Formerly it was done by the
     Secretary of State; but it has no natural connection with the
    general duties of his office, and it has been assigned to the
    Attorney General as a more appropriate agent.
        There is need of legislation in this respect to give method
     and convenience to the public business. When the commence-
    ment of organization took place in 1789, it was provided that
    all civil commissions should issue from the Department of State,
    and all military (including naval) ones from the Department of
    War. Thirty years afterwards, it was provided that all com-
    missions of officers, employed in levying and collecting the pub-
    lic revenue, shall be made out and recorded at the Treasury
    Department, and sealed with its seal. As the duties of adminis-
    tration continued to increase, it was found convenient to give
    an official seal to the other departments, and to make it evidence
    in law; but no correspondent provision of law was enacted
    relative to the issue of civil commissions, which remained on
    the footing of the acts as to the Departments of State and
    Treasury. A systematic arrangement of things would require,
    that, as in the Departments of State, Treasury, War, and Navy,
    so in those of the Postmaster General, Interior, and Attorney
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    General, commissions should be scaled, issued, and recorded in
    the office to which they belong.
       One remaining branch of public service is to be considered,
    in order to dispose of this part of the subject, namely, super-
    vision of the accounts of judicial and legal officers of the
    Government.
       When the Home Department was established, the supervisory
    power previously exercised by the Secretary of the Treasury
    over the accounts of marshals, clerks, and other officers of the
    courts of the United States was transferred to the Secretary
    of the Interior. In this no special fitness appears. The Sec-
    retary of the Interior does not superintend the appointment of
    those officers; he has no power by statute to correspond with
    or. direct them; and in several successive reports to Congress
    from that department, it has been recommended that the accounts
    of judicial officers, in common with their appointment, be trans-
    ferred to the Attorney General.
       Finally, if any of these proposed changes be adopted, or
    whether they be so or not, it is desirable that there should be
    some provision for the case of temporary vacancy in the office
    of Attorney General. By two acts, one of 1792, and another
    of 1795, provision is m-tde that, in case of the absence from the
    seat of government or sickness of the Secretary of State, the
    Secretary of the Treasury, or the Secretary of War, or the
    death of either, or the temporary vacancy of either office, for
    not exceeding six months, it shall be lawful for the President to
    authorize any person, at his discretion, to perform the duties of
    such office until a successor be appointed, or until such absence
    or inability by sickness shall cease. (May 8th, 1792, and Feb-
    ruary 13th, 1795.) There is also an enactment by which, in case
    of the death, resignation, or absence of the Postmaster General,
    all his powers and duties shall devolve, for the time being, on
    the First Assistant Postmaster General, (July 2d, 1836.) No
    general provision exists for a temporary appointment by the
    President, either in regard to this, or to the Departments of the
    Navy, Interior, and Attorney General. The existing legislation
    leads to opposite and contradictory conclusions. It may be said,
    on the one hand, that the power expressly conferred on the
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      President in three of the Departments, may be applied by
      analogy to the others. On the other hand, it may be said that
      the express enactment conferring the power on the President in
      those three cases, and making special peculiar legal provision
      in regard to a fourth, is the implied exclusion of any power of
      the President as to the remaining three. Perhaps the truer
      view of the question is to consider the two statutes as declaratory
      only, and to assume that the power to make such temporary
      appointment is a constitutional one. It has been exercised in
      regard to all the departments. In the most questionable of the
      cases, that of Attorney General, whose quasi judicial functions
      especially would seem to require to stand on legislative autho-
      rity, proof exists in the files of the department that temporary
      appointment has been made by the President, as in the case of
      the departments whose heads are more exclusively executive
      officers. But a general provision is desirable to remove all
      doubt on the subject, as well respecting the Attorney General
      as the other non-enumerated departments.
         I submit the propriety, therefore, of some further provision
      of law as to the arrangement of the legal affairs of the Govern-
      ment. The proposed changes do not enlarge the present power
      of the Executive in any respect. But they devolve additional
      labor on this office by transfer from others: on which account,
      I beg leave to add a few words of personal explanation.
         When the office of Attorney General was created, and for long
      afterwards, inequality existed between his salary and that of
      other officers of the same class. The reason why he received
      less than the others is given by Washington in his letter to Mr.
      Edmund Randolph, tendering to him the first appointment of
      Attorney General, in which he says: "The salary of this office
       appears to have been fixed at what it is from a belief that the
       station would confer pre-eminence on its possessor, and procure
      for him a decided preference of professional employment." On
       this basis things continued until a very late period, the Attorney
       General receiving less salary than his associates, but being
       invited, as it were, by the nature of the office, into private pro-
       fessional practice in the courts, for which his near association
       with the Government, united to the professional qualifications
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   which, from his being appointed to the office, he may be assumed
   to possess, would serve to give him great advantages. The pub-
   lished correspondence of the eminent statesmen of the first and
   second generations of our constitutional history, the reports of
   legal adjudications, the printed opinions of this office, and the
   documents on file in it, show that it was the received practice
   of the Attorney General not only to give opinions in private
   cases, and argue private causes at the seat of Government, but
   also to attend, as a practising barrister, at the sittings of courts
   in the States.
       The office of Attorney General of the United States has been
   filled, in past times, by men, who, while eminent in their special
   profession, have been not less eminent in the career of parlia-
   mentary, diplomatic, administrative, or judicial distinction; and
   many of whom now live, enjoying, by just title, the respect and
   the confidence of their countrymen. At the bar of the Supreme
   Court they did honor to their station; and their official opinions
   -are the law which guides the action of the Government. Nothing
   could be more foreign to my purpose than to reflect, in what
   follows, upon any of those distinguished persons foi pursuing a
   course in office which was not forbidden, but, on the contrary,
   ,invited by law, and was justified by official usage, and by the
   approbation or acquiescence of Washington, Adams, Jefferson,
   and Madison.
       Heretofore, the custom of the Attorney General in this respect
   did not essentially interfere with his proper official duties, nor
   prejudicially affect his general relation to the Government.
       Within the last few years, however, the condition of the
   country has undergone changes, occasioning a vast augmenta-
   tion in the amount of administrative business, which heads of
    department are called upon to perform; and it would not be
    possible now, as it has been heretofore, for the Attorney General,
    compatibly with performing well the duties of his office, to be
    frequently absent from the seat of Government, attending to
    private professional pursuits, nor could he find much leisure to
    prepare and argue private causes even before the Supreihe
    Court.
       It may deserve consideration, whether Congress, in establish-
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       ing quite recently a common rate of salary for the Attorney
        General and the other heads of departments, did not have in
       mind the new state of facts above referred to, and for that
        cause intend to repeal, by implication, the previous implication
       of law, which prompted a contindance of the private professional
       pursuits of the Attorney General.
           There is one other pertinent consideration. Most of the
       ordinary doctrines of law, and much of what is political organi-
        zation, we have derived from the institutions of our mother
       country. The original theory of the office of Attorney General
       of the United States, which authorized and prompted him to
       engage in private professional practice, flowed, perhaps un-
       consciously, in part from the correspondent usage in Great
       Britain. But there the Attorney General is not a member of
       the cabinet, the Lord Chancellor performing the political duties
       which devolve upon the Attorney General here. And there is
       reason to doubt whether; at the present day, in the United
       States, it is expedient that a head of department should, under
       any circumstances; continue in the practice of law as a pro-
       fession. Whatever change in the amount of public business
       the present greatness and wealth of the country may have pro-
       duced, they have produced a still greater change in the multi-
       tude and the urgency of the private interests which assail the
       Government. No person, who has been conversant with public
       affairs here for the last twenty years, can fail, on comparing the
       state of things at the beginfiing and at the end of that period, to
       see how striking is the tran'sition in this respect. Formerly, in
        an age of simpler manners, when the public expenditures were
       less, the number of places less, the population of the country
       less, the frequentation of the capital less, the ingenuity of self-
        interests less,-at such a time a Secretary, eminent in the legal
        profession, might, without possibility of reproach or suspicion
        of evil, take charge of private suits or interests at the seat of
        Government. He may do so now, perhaps; but that is not so
        clear as it formerly was; and it is not easy to perceive any
       ,distinction in this between what befits one or another head of
        department. Nay, arguments of objection could be suggested,
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    especially applicable in the existing state of society to the At-
    torney General.
       However all these things may be, the actual incumbent of this
    office, in the magnitude and complication of the public interests
    with which it is now charged, experiences that its necessary
    duties are quite sufficient to task to the utmost all the faculties
    of one man; and he willingly regards those recent acts of
    Congress, which have at length placed the salary of his office
    on equal footing with other public offices of the same class, as
    intimation at least that the Government has the same precise
    claim on his services, in time and degree, as on those of the
    Secretary of State or the Secretary of the Treasury. As the
    corollary of that principle, he now proposes such modifications
    in the office as may render it really and effectually, as well as
    in theory, responsible for the law business of the Government.
       The same thing in substance was earnestly proposed by
    Jackson in his first annual message to Congress, (December 8,
    1829,) and has been twice recommended to Congress by later
    Presidents. Whatever reasons of public utility seemed then to
    require change in this respect, have, in the progress of time,
    acquired such additional force as to lead me to conviction of the
    propriety of presenting the subject to your notice, and with your
    approbation to the notice of Congress.
        I have the honor to be, very respectfully, your obedient
     servant,
                                                    C. CUSHING.
        The PRESIDENT.


               EMPLOYMENT OF COUNSEL BY A DEPARTMENT.

    Counsel, specially employed by the Secretary of State to aid the District Attor-
      ney in the prosecution of persons accused of being engaged in illegal military
      enterprises in. Texas, should be paid out of the funds of the State Depart-
      ment.
                                    ATTORNEY GENERAL'S OFFICE,
                                                   March 9, 1854.
       SIR: I have examined the papers referred to me by your note
    of the 8th instant, consisting of the account of Hugh McQueen,
